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16
17                          UNITED STATES DISTRICT COURT
18                         CENTRAL DISTRICT OF CALIFORNIA

19     XOCHITL HERNANDEZ and               ) Civil Action No. 5:16-cv-00620-JGB-KKx
20     CESAR MATIAS, for themselves        )
       and on behalf of a class of         ) Defendants’ Initial Disclosures
21     similarly-situated individuals,     ) Pursuant to Federal Rule of Civil
22                                         ) Procedure 26(a)(1)
23     Plaintiffs-Petitioners,             )
                                           )
24     v.                                  )      Honorable Jesus G. Bernal
25                                         )
       JEFFERSON B. SESSIONS III,          )
26     U.S. Attorney, et al.,              )
27                                         )
       Defendants-Respondents.             )
28
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 1                        DEFENDANTS’ INITIAL DISCLOSURES
 2           Pursuant to Fed. R. Civ. P. 26(a)(1), Defendants make the following Initial
 3
       Disclosures to Plaintiffs.
 4
 5           By making these Initial Disclosures, Defendants do not represent that they
 6
       are identifying every potential document, tangible thing, or witness possibly
 7
 8     relevant to the claims raised in the Complaint. These Initial Disclosures represent
 9     a good faith effort to identify information Defendants reasonably believe is
10
       required by Fed. R. Civ. P. 26(a)(1).
11
12           Defendants make these Initial Disclosures without, in any way, waiving: (1)
13
       the right to object to the production of any document or tangible thing disclosed on
14
15     the ground of admissibility, competency, privilege, the work product doctrine
16
       relevancy, materiality, Privacy Act, or any other valid ground; (2) the right to
17
18     object to the use of any such information, for any purpose, in whole or in part, in

19     any subsequent proceeding or any other action; and (3) the right to object on any
20
       and all grounds, at any time, to any other discovery request or proceeding
21
22     involving, relating to or in any way pertaining to the subject matter of these
23
       disclosures.
24
25           Defendants make the disclosures set forth below subject to the above
26     objections and qualifications and with the following reservation of rights:
27
       Defendants expressly reserve and maintain its right to supplement, amend, correct
28


                                                 2
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 1     and/or modify these Initial Disclosures as the discovery and/or disclosure of

 2     additional facts and/or circumstances may hereafter warrant.
 3
       A.            Disclosures prescribed by Fed. R. Civ. P. 26(a)(1)(A)(i):
 4
                     Individuals likely to have discoverable information that Defendants
 5                   may use to support their claims and defense.
 6
                  As of this date, Defendants believe that the individuals listed below are
 7
 8     likely to have discoverable information to support their claims. Defendants have
 9     identified the name or title of each individual likely to have discoverable
10
       information that Defendants may use to support their claims, unless solely for
11
12     impeachment. Please note that, on the basis of Exemption 7 of the Freedom of
13
       Information Act, 5 U.S.C. § 552(b)(7), where applicable, only employers and/or
14
15     work addresses are provided. Defendants do not authorize Plaintiffs and/or their
16
       counsel to communicate about this litigation with the current government
17
18     employees identified below. Instead, Plaintiffs must contact the individuals

19     through undersigned counsel.
20
                     Designated Agent/Employee, EOIR Defendants:
21
22          (1)      Stephen Griswold, Assistant Chief Immigration Judge (“ACIJ”) for the
23
                     Office of the Chief Immigration Judge (“OCIJ”), EOIR.
24
25                   The ACIJ for OCIJ has knowledge of facts relating to the EOIR policies
26                   and procedures applicable to custody redetermination hearings.
27
28


                                                     3
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 1        (2)   Ben McDowell, Program Analyst for the Office of Planning, Analysis,

 2              and Statistics, EOIR. (“OPAS”)
 3
                The Program Analyst for OPAS has knowledge of facts relating to the
 4
 5              EOIR database and statistics.
 6
                Designated Agent/Employee, DHS Defendants:
 7
 8        (1)   Nathalie R. Asher, Acting Assistant Director, Field Operations,
 9              Enforcement and Removal Operations, Immigration and Customs
10
                Enforcement
11
12              Ms. Asher has knowledge from a nationwide prospective about the
13
                procedures officers use to determine custody and how requirements to
14
15              consider any factor, such as the ability to pay, will be overly burdensome
16
                for the agency.
17
18        (2)   Julio C. Wilson, Assistant Field Office Director, Enforcement and

19              Removal Operations, Los Angeles, Immigration and Customs
20
                Enforcement
21
22              Mr. Wilson has knowledge generally regarding how aliens are processed
23
                and how custody determinations are made, including how bonds are
24
25              determined in the relevant jurisdiction
26
27
28


                                                4
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 1                   Other Individuals:
 2        (1)        Any and all individuals who may have information as to Plaintiffs’
 3
                     backgrounds and histories.
 4
 5        (2)        All individuals identified by Plaintiffs as part of their Fed. R. Civ. P. 26
 6
                     disclosures.
 7
 8        (3)        Other witnesses who may be identified during discovery.
 9              This list of individuals above is not intended to be, nor is it a limitation on,
10
       the matters on which these persons may testify. The names listed above should not
11
12     be construed as an admission that any or all of the facts known to the individuals
13
       are discoverable, legally relevant or admissible. Defendants reserve all rights to
14
15     raise appropriate legal challenges.
16
                B.      Disclosures pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii):
17                      A description by category and location of all documents,
18                      electronically stored information, and tangible things that
                        Defendants may use to support their claims and defenses.
19
20              As of this date, Defendants have identified the following documents,
21     electronically stored information, and tangible things in their possession, custody,
22
23     or control (or that they believe to be in the possession, custody or control of

24     Defendants) or publically available and that Defendants may use to support their
25
       claims and defenses, unless solely for impeachment.
26
27              EOIR Defendants:
28
                        1. Uniform Docketing System Manual (2013)

                                                      5
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 1                 2. OCIJ Practice Manual: Extracted portions relevant to Bond

 2                 3. OCIJ current Immigration Judge Bond Worksheet (June 2017)
 3
                   4. Immigration Judge Benchbook
 4
 5                 5. EOIR Statistics Yearbooks
 6
             ICE Defendants:
 7
 8                 1. Report from the DHS Office of Inspector General titled “ICE
 9                     Deportations Operations,” dated April 13, 2017.
10
                   2. Report from DHS Office of Inspector General, titled “U.S.
11
12                     Immigration and Custom’s Enforcement’s Alternatives to
13
                       Detention (Revised), dated February 4, 2015.
14
15                 3. Report from DHS Office of Inspector General titled “ICE’s
16
                       Release of Immigration Detainees,” dated August 2014.
17
18                 4. The GAO Report on Immigration Detention, dated October 2014

19           All Defendants:
20
                   1. All documents that Plaintiffs provide in their initial disclosures or
21
22                     that are produced during the course of discovery.
23
             By providing the foregoing description of documents pursuant to Rule 26
24
25     (a)(1)(A)(ii), Defendants do not waive their right to withhold the production of any
26     document in their possession which is subject to protection under the Privacy Act,
27
       Law Enforcement Privilege, Deliberative Process Privilege, attorney-client
28


                                                6
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 1     privilege, work product protection or where the production of such document

 2     would otherwise be unlawful. The documents listed above should not be construed
 3
       as an admission that any or all of the facts reflected in the documents are
 4
 5     discoverable, legally relevant, or admissible. Defendants reserve all rights to raise
 6
       appropriate legal challenges.
 7
 8           C.     Disclosure pursuant to Fed. R. Civ. P. 26(a)(1)(a)(iii):
                    Computation of any category of damages
 9
10           Defendants do not claim any damages in relation to this action.
11
             D.     Disclosure pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iv):
12                  Insurance Agreements
13
             There are no relevant or applicable insurance agreements.
14
15
16
       Respectfully submitted this 29th day of September, 2017.
17
                                                 CHAD A. READLER
18                                               Acting Assistant Attorney General
19                                               Civil Division

20                                                   WILLIAM C. PEACHEY
21                                                   Director
22                                                   GISELA A. WESTWATER
23                                                   Assistant Director
24
                                                     SHEREASE PRATT
25                                                   Senior Litigation Counsel
26
                                                     By: /s/ Adrienne Zack
27                                                   ADRIENNE ZACK
28                                                   JOSEPH HARDY


                                                 7
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 8                                              Attorneys for Defendants-Respondents
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 1                               CERTIFICATE OF SERVICE
 2     CASE NO. CV 5:16-cv-00620-JGB-KK
 3
             I certify that on September 29, 2017, I served Defendants’ Initial Disclosures
 4
 5     Pursuant to Federal Rule of Civil Procedure 26(a)(1) via electronic mail to the
 6
       following counsel of record:
 7
 8      Ahilan T. Arulanantham                          Michael Bryan Kaufman
 9      aarulanantham@aclu-sc.org                       mkaufman@aclu-sc.org
10      Devon Lashae Hein                               Douglas Allen Smith
11      devon.hein@skadden.com                          douglas.smith@skadden.com

12      Grayce S. Patricia Frink                        Judy Rabinovitz
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13
14      Matthew Erik Delgado                            Michael K. T. Tan
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15
16      Stephen Bonggyun Kang                           Winston Ping Hsiao
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23
        Laura Rossini
24      lrossini@santa-ana.org
25
26
                                                    /s/Adrienne Zack
27
28


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